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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )                     8:09CR3
                    Plaintiff,            )
                                          )
             v.                           )
                                          )         MEMORANDUM AND ORDER
ANTONIO FRAUSTO,                          )
                                          )
                    Defendant.            )
                                          )


      This matter is before the court on defendant’s motion to compel, Filing No. 94.

Defendant requests that this court give him additional information including the address,

Social Security number, date of birth, and previous names used for the confidential

informant in this case.    The magistrate judge previously entered an order granting

defendant’s motion for disclosure of the name and any information that could be used to

impeach, including criminal histories, statements, promises made or consideration or

inducements offered in exchange for the testimony of the confidential informant, as well

as Brady or Giglio information. Filing No. 66.

      This court held a hearing on June 11, 2009, regarding defendant’s motion to compel

and other pretrial matters. The government represented that it had produced all items in

its possession to the defendant. However, the government objected to the request by

defendant that it produce the above identifying information of the confidential informant.

Defendant requests this information so he can further identify the cooperating witness,

stating he wants to do his own background investigation regarding the witness. The court

finds defendant has been provided sufficient identifying information to do a background

check on the witness. The defendant is entitled to obtain prior convictions, alias names
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for those convictions, the location of the convictions, and the sentence for those

convictions. The court has found no authority, and the defendant cites none, indicating

that defendant is entitled to the date of birth, address, or Social Security number of the

cooperating witness.

       The court weighs the defendant's right to information against the
       government's privilege to withhold the identity of its confidential informants.
       United States v. Bourbon, 819 F.2d 856, 859-60 (8th Cir.1987). A defendant
       bears the burden of demonstrating that disclosure is material to the outcome
       of his case; in other words, that disclosure is vital to ensure a fair trial. United
       States v. Sykes, 977 F.2d 1242, 1246 (8th Cir.1992); Bourbon, 819 F.2d at
       860.

United States v. Gonzalez-Rodriguez, 239 F.3d 948, 951 (8th Cir. 2001). See also, United

States v. Jackson, 345 F.3d 59,70 (2nd Cir. 2003) (“As this court has explained, Roviaro

[Roviaro v. United States, 353 U.S. 53 (1957)] requires no more than disclosure of the

informant’s identity . . . .”). The defendant has been provided with sufficient information

and has made no additional showing that disclosure of such personal and private

information is necessary to ensure a fair trial.

       THEREFORE, IT IS ORDERED that defendant’s motion to compel, Filing No. 94,

is granted in part and denied in part as stated on the record and as set forth herein.

       DATED this 12th day of June, 2009.

                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             Chief United States District Judge




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